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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                                Magistrate Judge Craig B. Shaffer

   Civil Action: 11-cv-01611-MSK-CBS                   FTR - Reporter Deck-Courtroom A402
   Date: July 22, 2013                                 Courtroom Deputy: Courtni Covington
   Parties:                                            Counsel:

   WESTERN CONVENIENCE STORES,                         Kathleen E. Craigmile
   INC., et al.,                                       Kenneth R. Bennington
                                                       Philip W. Bledsoe
          Plaintiffs/Counter Defendants/
          Third Party Defendants,

   v.

   SUNCOR ENERGY (U.S.A.) INC., et al.,                Christopher A. Taravella
                                                       Michael R. McCormick
          Defendant/ Counter Claimant/ Third           Anthony J. Shaheen
          Party Plaintiff/ Interested Party.


                           COURTROOM MINUTES/MINUTE ORDER

   HEARING: MOTION HEARING
   Court in Session:    1:31 p.m.
   Court calls case. Appearances of counsel.

   The court addresses the parties regarding MOTION by Interested Non-Party Dillon Companies,
   Inc. to Restrict Access to Doc. #240, Doc. #240-1, Doc. #240-2, and Doc. #240-3 [Doc. No. 246,
   filed 6/25/2013].

   The court clarifies that the motion is unopposed.

   ORDERED:              MOTION by Interested Non-Party Dillon Companies, Inc. to Restrict Access
                         to Doc. #240, Doc. #240-1, Doc. #240-2, and Doc. #240-3 [Doc. No. 246,
                         filed 6/25/2013] is GRANTED.

   The court moves on to the pending MOTION for Fees and Costs by Interested Non-Party Dillon
   Companies, Inc. [Doc. No. 226, filed 4/26/2013].

   Mr. Taravella presents oral argument and engages in discussion with the court.

   Mr. Bennington presents oral argument and engages in discussion with the court.
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   Further discussion between the court and counsel for the parties regarding the pending motion before
   the court, subpoenas served on Dillon Companies, Inc., depositions their counsel attended, and
   redacted records provided to Plaintiff.

   The court advises the parties that it will not issue a ruling from the bench but will take this motion
   under advisement.

   HEARING CONCLUDED.
   Court in recess:     3:09 p.m.
   Total time in court: 1:38

   To order transcripts of hearings with Magistrate Judge Shaffer, please contact Avery Woods
   Reporting at (303) 825-6119 or toll free at 1-800-962-3345.
